                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA                                        :
                                                                :
                                                                :
                   v.                                           :   Cr. No. 21-00274-ADC-3
                                                                :
                                                                :
Yoliann Rosario-Albert (3)                                      :
Defendant                                                       :
                                                                :
............................................................... :


                SUPPLEMENTAL MOTION TO DOCKET 75
THIRD MOTION INFORMING BAIL VIOLATION AND REQUESTING MODIFICATION
                    OF CONDITIONS OF RELEASE

TO THE HONORABLE COURT
DISTRICT OF PUERTO RICO


          COMES NOW, Cristina Crespo, U.S. Probation Officer of this Court, who

respectfully informing that:

     1. On April 1, 2022, the undersigned filed a motion notifying the following violations

          of bail supervision: Ms. Rosario Albert failed to report law enforcement contact in

          apparent violation of bond condition 7(r) “Report as soon as possible, to the

          pretrial services officer, every contact with law enforcement personnel,

          including arrests, questioning and/or traffic stops.”

     2. Ms. Rosario-Albert was summoned to appear at the Carolina First Instance Court

          on April 8, 2022, at 10:00am and probable cause was found for the misdemeanor

          assault charge, case number FMG2022MO112 and for obstruction/providing a

          false statement to a police officer case number FMG2022MO113. All in apparent

          violation of bond condition 1. “The defendant must not violate, federal, state or
       local law while on release.” Ms. Rosario-Albert’s trial is set for May 9, 2022, at

       8:30am.


                WHEREFORE, the undersigned requests that the Court take notice of the

contents of this motion and the previous recommendation to modify the location

monitoring component from curfew to home detention where Ms. Rosario-Albert will only

be allowed leave for pre-approved activities by the undersigned. Any additional violations

will be brought before the Court for pertinent action.

       In San Juan, Puerto Rico, this 19th of April of 2022.


                                          Respectfully submitted,


                                          LUIS O. ENCARNACION-CANALES
                                          CHIEF U.S. PROBATION OFFICER

                                          s/Cristina Crespo
                                          Cristina Crespo, U.S. Probation Officer
                                          United States Probation Office/Pretrial Division
                                          Federico Degetau Federal Office Building
                                          150 Chardón Avenue, Rm. 691
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that today, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to the parties

in this case.

s/Cristina Crespo

Cristina Crespo, U.S. Probation Officer
